        Case 3:21-cv-00362-JWD-SDJ            Document 18      07/07/21 Page 1 of 4




                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF LOUISIANA

THOMAS FRAMPTON
                                                           CIVIL ACTION
VERSUS
                                       NO. 3:21-CV-362-JWD-SDJ
CITY OF BATON ROUGE/PARISH OF EAST
BATON ROUGE, ET AL.
****************************************************
            MOTION TO SUBSTITUTE DEFECTIVE PLEADINGS


       MAY IT PLEASE THE COURT, now into court, through undersigned counsel, comes

defendant, CITY OF BATON ROUGE PARISH OF EAST BATON ROUGE, (referred hereafter

as “City/Parish”), SHARON WESTON BROOM, in her official capacity as Mayor of Baton

Rouge, and MURPHY J. PAUL, in his official capacity as Chief of the Baton Rouge Police

Department who respectfully represent:

                                               1.

       Undersigned counsel filed a consolidated Motion to Dismiss and Opposition to Motion for

Preliminary Injunction (ECF Doc. 14) on July 5, 2021, in accordance with the Court’s directives.

                                               2.

       On July 6, 2021, undersigned counsel was advised by the Clerk of Court’s office that the

Motion to Dismiss and Opposition to Motion for Preliminary Injunction needed to be filed as

separate documents.

                                               3.

       This Motion to Substitute Defective Pleadings provides a separate Motion to Dismiss, with

Memorandum in Support, and a separate Opposition to Motion for Preliminary Injunction, which




                                              Pg. 1
         Case 3:21-cv-00362-JWD-SDJ               Document 18       07/07/21 Page 2 of 4




are substantially the same as the consolidated versions, but broken into separate documents per the

instructions of the Clerk of Court.

       WHEREFORE, defendants herein pray that the consolidated Motion to Dismiss and

Opposition to Motion for Preliminary Injunction (ECF Doc. 14) be struck from the record, and the

attached pleadings be substituted in its place.

                                                          RESPECTFULLY SUBMITTED,
                                                          By Attorneys:
                                                          Anderson O. Dotson
                                                          Parish Attorney

                                                          /s/ Joseph K. Scott, III
                                                          Anderson O. “Andy” Dotson, III (#26865)
                                                          Deelee Morris (#28775)
                                                          Joseph K. Scott, III (#28223)
                                                          222 St. Louis Street, 9th Floor
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                                                  Pg. 2
         Case 3:21-cv-00362-JWD-SDJ              Document 18         07/07/21 Page 3 of 4




                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF LOUISIANA

THOMAS FRAMPTON
                                                                CIVIL ACTION
VERSUS
                                      NO. 3:21-CV-362-JWD-SDJ
CITY OF BATON ROUGE/PARISH OF EAST
BATON ROUGE, ET AL.
****************************************************
                          CERTIFICATE

       I hereby certify that a copy of the foregoing Motion to Substitute Defective Pleadings was

this date electronically filed with the Clerk of Court using the Court’s CM/ECF system. Notice of

this filing will be sent to all counsel of record by operation of the Court’s electronic filing system.

Notice will be mailed to any party or counsel not participating in the Court’s CM/ECF system by

this date depositing same in the United States Mail, first class postage prepaid, and properly

addressed.

       Baton Rouge, Louisiana this 7th day of July, 2021.



                                                         /s/ Joseph K. Scott, III
                                                         Joseph K. Scott, III




                                                 Pg. 3
         Case 3:21-cv-00362-JWD-SDJ           Document 18      07/07/21 Page 4 of 4




                               UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF LOUISIANA

THOMAS FRAMPTON
                                                           CIVIL ACTION
VERSUS
                                    NO. 3:21-CV-362-JWD-SDJ
CITY OF BATON ROUGE/PARISH OF EAST
BATON ROUGE, ET AL.
****************************************************
                              ORDER


        The Court, having considered the Motion to Substitute Defective Pleadings, and the

record of the proceeding,

        IT IS ORDERED THAT the consolidated Motion to Dismiss and Opposition to Motion

for Preliminary Injunction (ECF Doc. 14) be struck from the record, and the attached pleadings

be substituted in its place.



        THUS DONE AND SIGNED at Baton Rouge, Louisiana, this _____ day of July, 2021.



                               _________________________________
                                JUDGE JOHN W. DEGRAVELLES




                                              Pg. 4
